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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                 Plaintiff,
                                        CRIMINAL NO. 04-80642-13
      v.
                                        HON. PAUL D. BORMAN
KENNETH WORTHY II,

              Defendant.
_______________________________/
               ORDER DENYING MOTION TO DELAY REPORT DATE

             Defendant, Kenneth Worthy, having filed a motion

to delay defendant’s report date, and the Court, having considered

the motion;

             THEREFORE, IT IS ORDERED, that defendant's motion

to delay his reporting date is DENIED. Defendant is to surrender

on 8/28/07 to FCI Safford in Arizona as notified by the Marshal.



                                    s/Paul D. Borman
                                    PAUL D. BORMAN
                                    UNITED STATES DISTRICT JUDGE
Dated:     August 27, 2007

                          CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by
electronic means or U.S. Mail on August 27, 2007.


                                    s/Denise Goodine
                                    Case Manager
